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                        UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

Bonnie Burns

v.                                           Case Number: 4:23−cv−01510

Cenlar FSB, et al.




                               NOTICE OF RESETTING

TAKE NOTICE THAT A PROCEEDING IN THIS CASE HAS BEEN RESET
FOR THE PLACE, DATE AND TIME SET FORTH BELOW.




Before the Honorable
Alfred H Bennett
PLACE:
Courtroom 9A
United States District Court
515 Rusk Ave
Houston, TX
DATE: 11/17/2023

TIME: 09:30 AM
TYPE OF PROCEEDING: Initial Conference


Date: September 19, 2023
                                                        Nathan Ochsner, Clerk
